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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

 

Plaintiff,
VS. CR. NO. 22-cr-00170
HONORABLE Colleen Kollar-Kotelly
TREVOR BROWN,
Defendant.
/
WAIVER OF SPEEDY TRIAL

I have been advised of my rights to a speedy trial under the Speedy Trial Act, 18
USC §3161. I hereby waive my right to a speedy trial under the Act and consent to
continuing my trial date from April 28, 2023 to May 24, 2023. 1 understand the
period of the continuance will be excluded from computations of time for the
purposes of the Speedy Trial Act.

Sa ae

Defendant Trevor Brown

Date: He [Z— 2224

 

 
